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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA


JILL STEIN, RANDALL REITZ, ROBIN HOWE,
SHANNON KNIGHT, and EMILY COOK,

                   Plaintiffs,

      -against-
                                                    No. 16-CV-6287 (PD)
KATHY BOOCKVAR, in her official capacity as
Acting Secretary of the Commonwealth; and
JONATHAN MARKS, in his official capacity as
Commissioner of the Bureau of Commissions,
Elections, and Legislation,

                   Defendants.




          PLAINTIFFS’ PRE-EVIDENTIARY HEARING MEMORANDUM




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               Pursuant to the Court’s December 20, 2019 Order (Dkt. #136) and Local Civil

Rule 16.1(c), to the extent it applies here, Plaintiffs submit this memorandum in advance of the

January 21, 2019 evidentiary hearing.

I.     NATURE OF THE ACTION AND BASIS FOR JURISDICTION

               Plaintiffs brought this action under 42 U.S.C. § 1983, alleging that Pennsylvania’s

use of outdated, unreliable voting systems and certain provisions of its Election Code violated

their constitutional rights. On November 28, 2018, the parties entered into a settlement

agreement, which the Court retained jurisdiction to enforce. See Dkt. #110; Kokkonen v.

Guardian Life Ins. Co., 511 U.S. 375, 381 (1994). On November 26, 2019, Plaintiffs moved for

an order directing Defendants to specifically perform their obligations under the Settlement

Agreement by decertifying a voting system manufactured by Election Systems & Software

(“ES&S”) called the Express Vote XL. The Court sua sponte ordered an evidentiary hearing on

eight enumerated factual issues. See Dkt. #136.

II.    BRIEF STATEMENT OF THE FACTS RELEVANT TO THE PROCEEDING

               The parties’ Settlement Agreement is designed to ensure that “every Pennsylvania

voter in 2020 uses a voter-verifiable paper ballot.” Agreement ¶ 3. It permits Defendants to

certify new voting systems for use in Pennsylvania only if: (a) “[t]he ballot on which each vote is

recorded is paper,” i.e., the system uses “paper ballots,” id. ¶¶ 2(a), 3; (b) the system “produce[s]

a voter-verifiable record of each vote,” id. ¶ 2(b); and (c) the system is “capable of supporting a

robust pre-certification auditing process” to verify the accuracy and integrity of election results

before the results are certified, id. ¶ 2(c). The Agreement further requires the Secretary to “direct

each county in Pennsylvania to implement these voting systems by the 2020 primaries.” Id. ¶ 3.

When Defendants intend to conduct on-site certification testing of new voting systems, the

Agreement provides that they “shall ensure” that Plaintiffs are made aware of the testing.” Id.

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¶ 4(a). Plaintiffs “will appoint a person to attend” any such testing, and “the representative may

provide written or oral comments to the Secretary concerning the certification of any Voting

Systems.” Id. ¶ 4(b).

               In the mode certified for use in Pennsylvania, the ExpressVote XL works as

follows:

               1.       A card is inserted into the machine to tell the machine which elections the

                        voter can vote in.

               2.       The machine displays those elections and the candidates running in them

                        on a touchscreen.

               3.       The voter makes her choice of candidate(s) in those races on the

                        touchscreen, then presses “print.”

               4.       The machine prints a paper summary card.

               5.       The summary card includes (a) a series of bar codes that are supposed to

                        reflect the voter’s choices and (b) a written record of the voter’s choices.

               6.       The machine scans the bar code on the summary card.

               7.       The voter can, with some difficulty, review the summary card through

                        glass.

               8.       If the voter approves what she sees, she presses a button to cast her vote.

               9.       The vote recorded from the bar code is saved and tabulated.

               10.      The summary card goes back into the machine and is deposited and stored.

               Thus, while the voter makes his or her choices on a touchscreen, the system

actually counts the summary card, which looks like this:




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               The scanner reads the bar code, not the words, to tabulate the vote. Bar codes are

not comprehensible to voters. Only words are comprehensible to voters. The ExpressVote XL

therefore does not allow the voter to verify that his actual vote has been properly recorded.

Unlike ordinary paper ballots, the ExpressVote XL interposes computer software between the

voter’s intention and the official record of his or her vote. The voter cannot be sure whether the

marking on the page accurately reflects his or her intentions.

               A successful hack could cause the ExpressVote XL to produce summary cards

that deviate from voters’ intended votes, whether by remarking ballots or casting rejected votes.

If such an attack occurred, the summary card would match the machine count, but neither would

match voters’ actual choices.

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               On November 30, 2018, the Secretary of the Commonwealth initially certified the

ExpressVote XL for use in Pennsylvania. On January 29, 2019, Plaintiffs, through their designee

Dr. J. Alex Halderman, asked Defendants to provide video of the testing of the ExpressVote XL,

as well as the testing of other systems. Defendants did not respond. Plaintiffs renewed their

request on February 21, March 7, May 9, May 16, May 28, and June 4. In his March 7 request,

Dr. Halderman wrote: “I’m writing again to ask when the other videos will be available. Since

many counties are looking to purchase machines, . . . time is of the essence.”

               On July 16, 2019, a group of Pennsylvania voters petitioned the Secretary of the

Commonwealth to decertify the ExpressVote XL. The Secretary then performed a mandatory

reexamination of the system. The recertification testing was held offsite, and Plaintiffs were not

given notice of it or an opportunity to participate.

               Plaintiffs provided Defendants with notice of potential noncompliance with the

Agreement on July 29, 2019. On September 3, 2019, the Secretary recertified the ExpressVote

XL. On September 12, 2019, Defendants responded to Plaintiffs’ notice of noncompliance. The

parties continued the meet-and-confer process by exchanging correspondence on October 1,

October 30, November 10, and November 13.

III.   RELIEF SOUGHT

               Plaintiffs request that the Court issue an order directing Defendants to specifically

perform their obligations under the Settlement Agreement by decertifying the ExpressVote XL

on an appropriate timetable to avoid disruption to impending elections.

IV.    WITNESS LIST

               Plaintiffs may call the following witnesses, while reserving the right not to call

any witnesses on this list and the right to call impeachment and/or rebuttal witnesses, and also

requesting the right to supplement their witness list on the issues of feasibility (i.e. question H on

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the December 20 order, Dkt. #136) and of laches after Defendants present evidence on these

affirmative defenses (see infra § VI.C):

               Jill Stein. Dr. Stein is a Plaintiff in this action. She has knowledge of Plaintiffs’

understanding of the terms used in the settlement agreement; Plaintiffs’ reasons for seeking to

enforce the settlement agreement; and the timing of Plaintiffs doing so.

               Kathy Boockvar (potentially adverse). Ms. Boockvar is the Secretary of the

Commonwealth. She has knowledge of Defendants’ understanding of the terms used in the

settlement agreement/parol evidence concerning the same; the certification of the ExpressVote

XL; whether the ExpressVote XL complies with the settlement agreement; and the potential

impact of Plaintiffs’ requested relief on the 2020 election.

               Jonathan Marks (potentially adverse). Mr. Marks is the Deputy Secretary of the

Commonwealth for Elections and Commissions. He has knowledge of Defendants’

understanding of the terms used in the settlement agreement; the certification of the ExpressVote

XL; and whether the ExpressVote XL complies with the settlement agreement.

               Timothy Gates (potentially adverse). Mr. Gates is Chief Counsel to the

Pennsylvania Department of State. He has knowledge of Defendants’ understanding of the terms

used in the settlement/parol evidence of the same and the timing of Plaintiffs’ efforts to enforce

the settlement agreement.

               Kathleen Kotula (potentially adverse). Ms. Kotula is Executive Deputy Chief

Counsel to the Pennsylvania Department of State. She has knowledge of Defendants’

understanding of the terms used in the settlement/parol evidence of the same; Plaintiffs’ efforts

to obtain information about the ExpressVote XL; and the timing of Plaintiffs’ efforts to enforce

the settlement agreement.



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               Vienna Linderman. Ms. Linderman is a registered voter in Philadelphia County

who used the ExpressVote XL to vote in 2019. She has knowledge of how the system works and

whether the vote is voter-verifiable in practice under real-world conditions.

               Joni Lipson. Ms. Lipson is a registered voter in Philadelphia County who used

the ExpressVote XL to vote in 2019. She has knowledge of how the system works and whether

the vote is voter-verifiable in practice under real-world conditions.

               Scott McCarthy. Mr. McCarthy is a registered voter in Philadelphia County who

used the ExpressVote XL to vote in 2019. He has knowledge of how the system works and

whether the vote is voter-verifiable in practice under real-world conditions.

               Any witness listed by another party.

               Rebuttal witnesses.

               Impeachment witnesses.

V.     REQUEST FOR JUDICIAL NOTICE

               The Court should take judicial notice of the definitions of the following terms in

the Pennsylvania Election Code, see Moore v. Reco Equip. Inc. Emp. Welfare Benefit Plan, No.

16-CV-1017, at *2 n.1 (W.D. Pa. Apr. 3, 2017) (taking judicial notice of statute):

               -   “Paper ballot” means a printed paper ballot which conforms in layout and

                   format to the voting device in use. 25 P.S. § 3031.1.

               -   “Ballot card” means a card which is compatible with automatic tabulating

                   equipment and on which votes may be registered. 25 P.S. § 3031.1.

               The court should also take judicial notice of the fact that humans generally cannot

read bar codes. See Fed. R. Evid. 201(b) (“The court may judicially notice a fact that is not

subject to reasonable dispute because it (1) is generally known within the trial court’s territorial



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jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.”).

VI.    SPECIAL COMMENT CONCERNING RELEVANT LEGAL ISSUES

               Consistent with Local Civil Rule 16.1(c)(7), Plaintiffs provide the following

“[s]pecial comments regarding legal issues” that may be relevant to the hearing.

       A.      Parol Evidence Is Admissible for Limited Purposes Under Pennsylvania Law

               The admissibility of parol evidence to interpret a contract is a matter of

substantive law, not procedural law, and is therefore governed by state law if state law governs

the underlying claim. See Mellon Bank Corp. v. First Union Real Estate Equity & Mortg. Inv.,

951 F.2d 1399, 1404-05 (3d Cir. 1991). Here, pursuant to the Settlement Agreement,

Pennsylvania law applies. Agreement ¶ 23.

               Under Pennsylvania law, parol evidence about the meaning of the Settlement

Agreement may be admitted for two purposes.

               First, certain limited kinds of parol evidence may be admitted to determine

whether the Agreement contains a latent ambiguity—that is, an ambiguity not apparent on the

face of the document. See Bohler-Uddeholm Am., Inc. v. Ellwood Grp., Inc., 247 F.3d 79, 93-94

(3d Cir. 2001). That inquiry is “confined to determining ‘the parties’ linguistic reference,’” such

as whether the term “dollars” refers to Canadian or American dollars. Duquesne Light Co. v.

Westinghouse Elec. Corp., 66 F.3d 604, 614 (3d Cir. 1995) (quoting Mellon Bank, N.A. v. Aetna

Bus. Credit, Inc., 619 F.2d 1001, 1011 n.12 (3d Cir. 1980)).




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               Second, if the Court concludes that the terms of the Settlement Agreement are

ambiguous (whether patently or latently), the Court may admit parol evidence to aid in

determining the parties’ intent. See Kripp v. Kripp, 849 A.2d 1159, 1165 (Pa. 2004).

       B.      Only Evidence Concerning the Parties’ Objective Manifestations of Intent,
               Not Their Subjective Undisclosed Thoughts, Is Admissible to Interpret the
               Settlement Agreement

               Under Pennsylvania law, evidence of the parties’ undisclosed subjective

intentions is not admissible parol evidence in construing the terms of a contract, and the Court

should neither admit nor consider it. Only outward manifestations of the parties’ intent are

relevant in construing a contract:

               [O]ral statements by parties of what they intended written language
               to mean should be excluded. This is so because the intention of a
               party relevant to the formation of a contract is the intention
               manifested by him rather than any undisclosed intention. Thus, it
               was the documentary evidence of [the party’s] words and conduct
               before, during, and after the transaction that was relevant, not his
               testimony of what his undisclosed intention was at the time he
               wrote those words and engaged in that conduct.

Spatz v. Nascone, 424 A.2d 929, 942 (Pa. Super. Ct. 1981); accord Motor Coils Mfg. Co. v. Am.

Ins. Co., 454 A.2d 1044, 1049 (Pa. Super. Ct. 1982) (excluding testimony about party’s

undisclosed subjective understanding); Prusky v. Prudential Ins. Co. of Am., No. 00-CV-2783,

2001 WL 34355665, at *26 (E.D. Pa. Oct. 30, 2001) (“In ascertaining the intent of the parties,

[i]t is their outward and objective manifestations of assent, as opposed to their undisclosed and

subjective intentions, that matter.”).

       C.      Defendants Bear the Burden on the Affirmative Defenses

               In its December 20 order, the Court noted that Plaintiffs, as the moving parties,

would present their case first and that Defendants would have the opportunity to supplement

their witness list after Plaintiffs presented evidence. However, Defendants bear the burden of


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proving unreasonable delay and prejudice with respect to their affirmative defense of laches and

their claim that it is not feasible to change systems for the November 2020 election. See

Commonwealth ex rel. Pa. Att’y Gen Corbett v. Griffin, 946 A.2d 668, 677 (Pa. 2008).

               Several of the questions set forth in the Court’s December 20 order appear to be

geared primarily toward the issue of laches, including “What did Plaintiffs know about the

ExpressVote XL system when the Department of State apparently first considered it in

September 2018?” and “What effect would granting Plaintiffs’ motion have on voting in the

November 2020 election?” Dkt. #136. The Court also asked about the issue of feasibility:

“What effect would granting Plaintiffs’ motion have on voting in the November 2020 election?”

Id.

               Plaintiffs respectfully submit that, if Defendants are granted the opportunity to

supplement their witness list on matters about which Plaintiffs bear the burden of proof,

Plaintiffs should be given the reciprocal opportunity to supplement their witness list after

Defendants present their affirmative case on these issues. See Int’l Bus. Machines Corp. v.

Groupon, Inc., No. 16-CV-122, 2018 WL 3007662, at *2 (D. Del. June 15, 2018) (setting forth

trial order of proof providing for plaintiff’s response to defendant’s affirmative defenses after

presentation of both sides’ case-in-chief); Compolongo v. Celotex Corp., 681 F. Supp. 261, 265

(D.N.J. 1988) (noting the potential need for “rebuttal testimony” after defendants present

“conduct-related affirmative defenses”).

       D.      Plaintiffs Retain Their Applicable Privileges

               Plaintiffs retain, have not waived, and intend to assert as necessary their

applicable privileges, including the attorney-client privilege for confidential client

communications, attorney work product protection, and protection from disclosure for

communications with experts. Pennsylvania law governs the first; federal law the latter two.
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               Attorney-Client Privilege. Because the sole claims and defenses at issue on

Plaintiffs’ motion are questions of state law, Pennsylvania law governs any questions of

attorney-client privilege that may arise at the hearing. See Fed. R. Evid. 501 (“[I]n a civil case,

state law governs privilege regarding a claim or defense for which state law supplies the rule of

decision.”). As a matter of Pennsylvania statutory law, “[i]n a civil matter counsel shall not be

competent or permitted to testify to confidential communications made to him by his client, nor

shall the client be compelled to disclose the same, unless in either case this privilege is waived

upon the trial by the client.” 42 P.S. § 5928.

               If they intend to argue that the privilege has been waived or that some exception

to it applies, Defendants would bear the burden of proof. See Salsman v. Brown, 51 A.3d 892,

894-95 (Pa. Super. Ct. 2012). In Bonds v. Bonds, 689 A.2d 275 (Pa. Super. Ct. 1997), on a

motion to enforce a settlement agreement, the movant called her attorney as a witness. In the

course of his testimony, the attorney refreshed his recollection by looking at his file. Id. at 277.

All of the attorney’s testimony “related to communications which were not confidential and

which were not protected by the attorney-client privilege.” Id. At no time did the attorney

testify concerning confidential communications. The Superior Court held that the movant had

not waived the attorney-client privilege, and that the adverse party was not entitled to see or

examine the attorney about any privileged materials in his file. According to the Superior Court,

the idea that counsel’s testimony about nonconfidential matters had waived the privilege was

“preposterous” and “not supported by case law.” Id. at 277-78. That logic would apply with

even greater force here, where Plaintiffs have not offered their counsel as witnesses and any

examination of counsel would happen at Defendants’ initiative.




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               Work Product Doctrine. “Unlike the attorney-client privilege, the work product

privilege is governed, even in diversity cases, by a uniform federal standard embodies in Fed. R.

Civ. P. 26(b)(3).” United Coal Cos. v. Powell Constr. Corp., 839 F.2d 958, 966 (3d Cir. 1988);

accord Arthurs v. Beard, No. 07-CV-862, 2009 WL 10728519, at *2 (W.D. Pa. 2009); 8 Wright

& Miller, Federal Practice & Procedure § 2023 (3d ed. 2008).

               Under federal law—specifically, Hickman v. Taylor, 329 U.S. 495 (1947), and its

progeny—work product protection extends to the “intangible” mental impressions and opinions

of counsel in connection with litigation, even when those thoughts and opinions are not

memorialized in tangible documents. Id. at 511; see United States v. Deloitte LLP, 610 F.3d 129,

136 (D.C. Cir. 2010) (“Hickman provides work-product protection for intangible work product

independent of Rule 26(b)(3).”). Fact work product is discoverable only “upon a showing of

need and hardship.” In re Cendant Corp. Sec. Litig., 343 F.3d 658, 663 (3d Cir. 2003).

“‘[C]ore’ or ‘opinion’ work product that encompasses the ‘mental impressions, conclusions,

opinion, or legal theories of an attorney . . .’ is ‘generally afforded near absolute protection from

discovery.’” Id. (quoting In re Ford Motor Co., 110 F.3d 954, 962 n.7 (3d Cir. 1997)). Core

work product “is discoverable only upon a showing of rare and exceptional circumstances.” Id.

               That an attorney’s opinions or mental impressions may have been developed in

connection with the possible settlement of a pending action does not alter their status as attorney

work product. See Delco Wire & Cable, Inc. v. Weinberger, 109 F.R.D. 680, 692 (E.D. Pa.

1986) (attorney opinion concerning settlement of litigation protected by work product doctrine);

Sampson v. Sch. Dist. of Lancaster, 262 F.R.D. 469, 478-49 (E.D. Pa. 2008) (facts contained in

memorandum concerning settlement shielded by work product doctrine); see also Pa. Dep’t of

Pub. Welfare v. U.S. Dep’t of Health & Hum. Servs., 623 F. Supp. 301, 306 (M.D. Pa. 1985)



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(memoranda concerning settlement proposals protected by Privacy Act exception for attorney

work product).

                 Experts. Communications with a nontestifying expert in connection with

settlement negotiations, or reports or other materials prepared by a nontestifying expert in

connection with settlement negotiations, are privileged. See Stewart Title Guar. Co. v. Owlett &

Lewis, P.C., 297 F.R.D. 232, 239-40 (M.D. Pa. 2013). There are no disclosed testifying experts

in connection with the settlement agreement or this motion, and to the extent there were, all

communications with those experts would be privileged except to the extent they concerned

compensation or identified facts or assumptions on which the expert relied in forming an

opinion. See Fed. R. Civ. P. 26(b)(4)(c).




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Dated: January 13, 2019


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